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12 Attorneys for Plaintiff and all others
     similarly situated
13                           IN THE UNITED STATES DISTRICT COURT
14                                      DISTRICT OF COLORADO
     MAIVA MAREE, individually and on            ) Case No.:
15   behalf of all others similarly situated,    )
                                                 ) CLASS ACTION
16           Plaintiffs,
                                                 )
                                                 )
17                                               ) PLAINTIFF’S COMPLAINT FOR
             vs.                                 ) DAMAGES AND INJUNCTIVE RELIEF
18                                               )
     WYNDHAM VACATION RESORTS,                   ) (1) Violations of the TCPA, 47 U.S.C. §
19   INC.; and DOE INDIVIDUALS, inclusive, )            227, et seq. (Do Not Call);
     and each of them,                           ) (2) Violations of the TCPA, 47 U.S.C. §
20                                               )      227, et seq. (Cell Phone);
                                                 ) (3) Violations of the TCPA, 47 C.F.R. §
21         Defendants.                           )
                                                 )      64.1200(d) (Internal Do Not Call).
22                                               )
                                                 ) DEMAND FOR JURY TRIAL
23                                               )
                                                 )
24                                               )
                                                 )
25                                               )

26          Plaintiff MAIVA MAREE (“Plaintiffs”), individually and on behalf of all other persons

27 similarly situated, bring this action against defendant WYNDHAM VACATION RESORTS,
28
       PLAINTIFF’S COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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 1
 2 INC. (“Defendant”) to stop Defendant’s practice of making unsolicited telemarketing calls to
 3 the telephones of consumers nationwide and to obtain redress for all persons injured by their
 4
     conduct. Plaintiff, for her Complaint, alleges as follows upon personal knowledge as to herself
 5
     and her own acts and experiences, and, as to all other matters, upon information and belief,
 6
 7 including investigation conducted by her attorney.
 8                                          INTRODUCTION

 9           1.     Defendant is a company involved in vacation resorts and debt/recovery/collection
10 and is a person as defined by 47 U.S.C. § 153 (99)that recruited, or employed call centers, to
11
     place telephone calls, en masse, to consumers across the country. On information and belief,
12
     Defendant and/or its agents purchase phone number databases of consumers’ contact
13
     information and create an electronic database from which Defendant makes automated calls.
14
15           2.     Defendant conducted wide scale telemarketing campaigns and repeatedly made

16 unsolicited calls to consumers’ telephones—whose numbers appear on the National Do Not Call
17 Registry—without consent, all in violation of the Telephone Consumer Protection Act, 47
18 U.S.C. § 227 (the “TCPA”).
19
             3.     The TCPA was enacted to protect consumers from unsolicited telephone calls
20
     exactly like those alleged in this case. In response to Defendant’s unlawful conduct, Plaintiff
21
     files the instant lawsuit and seek an injunction requiring Defendant to cease all unsolicited
22
23 telephone calling activities to consumers registered on the National Do Not Call Registry
24 (“DNC”) and an award of statutory damages to the members of the Class under the TCPA up to
25 $500.00 per violation, together with court costs, reasonable attorneys’ fees, and up to three
26 times actual monetary loss damages (for knowing and/or willful violations).
27
28
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 1
 2           4.     By making the telephone calls at issue in this Complaint, Defendant caused
 3 Plaintiff and the members of a putative Classes of consumers (defined below) actual harm,
 4
     including the aggravation, nuisance, and invasion of privacy that necessarily accompanies the
 5
     receipt of unsolicited and harassing telephone calls, as well as the monies paid to their carriers
 6
 7 for the receipt of such telephone calls.
 8           5.     Plaintiff brings this class action against Defendant to secure redress because

 9 Defendant willfully violated the TCPA by causing unsolicited calls to be made to Plaintiffs and
10 other class members whose numbers are registered on the DNC.
11
                                                 PARTIES
12
             6.     Plaintiff MAIVA MAREE is a natural person and citizen of Colorado.
13
             7.     Defendant WYNDHAM VACATION RESORTS, INC. (“Defendant” or
14
15 “Wyndham”) is a Delaware corporation with a principal place of business located at 8427 South
16 Park Circle, Orlando, Florida 32819. Defendant may be served with process by serving its
17 registered agent, Corporate Creations Network, Inc. 11380 Prosperity Farms Road, Unit 221E,
18 Palm Beach Gardens, FL 33410.
19
             8.     Plaintiffs do not yet know the identity of Defendant’s employees/agents that had
20
     direct, personal participation in or personally authorized the conduct found to have violated the
21
     statute and were not merely tangentially involved. They will be named, as numerous District
22
23 Courts have found that individual officers/principals of corporate entities may be personally
24 liable (jointly and severally) under the TCPA if they had direct, personal participation in or
25 personally authorized the conduct found to have violated the statute, and were not merely
26 tangentially involved. Texas v. American Blastfax, Inc., 164 F.Supp.2d 892, 899 (W.D. Tex.
27
28
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 1
 2 2001) (“American Blastfax”); Sandusky Wellness Center, LLC v. Wagner Wellness, Inc., 2014
 3 WL 1333472, at * 3 (N.D. Ohio March 28, 2014); Maryland v. Universal Elections, 787
 4
     F.Supp.2d 408, 415-16 (D.Md. 2011) (“Universal Elections”); Baltimore-Washington Tel Co. v.
 5
     Hot Leads Co., 584 F.Supp.2d 736, 745 (D.Md. 2008); Covington & Burling v. Int’l Mktg. &
 6
 7 Research, Inc., 2003 WL 21384825, at *6 (D.C.Super Apr. 17, 2003); Chapman v. Wagener
 8 Equities, Inc. 2014 WL 540250, at *16-17 (N.D.Ill. Feb. 11, 2014); Versteeg v. Bennett,
 9 Deloney & Noyes, P.C., 775 F.Supp.2d 1316, 1321 (D.Wy.2011) (“Versteeg”). Upon learning of
10 the identities of said individuals, Plaintiffs will move to amend to name the individuals as
11
     defendants.
12
             9.      Whenever in this complaint it is alleged that Defendant committed any act or
13
     omission, it is meant that the Defendant’s officers, directors, vice-principals, agents, servants, or
14
15 employees, subsidiaries, or affiliates committed such act or omission and that at the time such
16 act or omission was committed, it was done with the full authorization, ratification or approval
17 of Defendant or was done in the routine normal course and scope of employment of the
18 Defendant’s officers, directors, vice-principals, agents, servants, or employees.
19
                   JURISDICTION, VENUE & INTRADISTRICT ASSIGNMENT
20
             10.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action
21
     arises under the TCPA, which is a federal statute.
22
23           11.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because the Plaintiffs are

24 residents of different States from that of Defendant, and thus will result in at least one class
25 member belonging to a different state than that of the Defendant, which is based in California.
26           12.     Plaintiffs also seek up to $1,500.00 in damages for each call in violation of the
27
28
        PLAINTIFF’S COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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 1
 2 TCPA, which, when aggregated among a proposed class in the thousands, exceeds the
 3 $5,000,000.00 threshold for federal court jurisdiction. Therefore, both diversity jurisdiction and
 4
     the damages threshold under the Class Action Fairness Act of 2005 (“CAFA”) are present, and
 5
     this Court has jurisdiction.
 6
             13.     The Court has personal jurisdiction over Defendant because it conducts
 7
 8 significant business in this District, and the unlawful conduct alleged in this Complaint occurred
 9 in, was directed to, and/or emanated from this District. Furthermore, Defendant’s headquarters
10 is located in this District, Defendant has purposefully availed itself of the protections of
11
     California law, and the exercise of personal jurisdiction over Defendant in this District does not
12
     offend traditional notions of fair play or substantial justice.
13
             14.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the
14
15 wrongful conduct giving rise to this case occurred in, was directed to, and/or emanated from this
16 District.
17                                  LEGAL BASIS FOR THE CLAIMS
18           15.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the
19
     telemarketing industry. In doing so, Congress recognized that “[u]nrestricted
20
     telemarketing…can be an intrusive invasion of privacy…” Telephone Consumer Protection Act
21
     of 1991, Pub. L. No. 102-243 § 2(5) (1991) (codified at 47 U.S.C. § 227).
22
23           16.     Specifically, the TCPA restricts telephone solicitations (i.e., telemarketing) and

24 the use of automated telephone equipment. The TCPA limits the use of automatic dialing
25 systems, artificial or prerecorded voice messages, SMS text messages, and fax machines. It also
26 specifies several technical requirements for fax machines, autodialers, and voice messaging
27
28
        PLAINTIFF’S COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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 1
 2 systems—principally with provisions requiring identification and contact information of the
 3 entity using the device to be contained in the message.
 4
              17.      The TCPA and the Federal Communications Commission’s (“FCC”)
 5
      implemented rules prohibit: (1) making telemarketing calls using an artificial or prerecorded
 6
 7 voice to residential telephones without prior express consent; and (2) making any non-
 8 emergency call using an automatic telephone dialing system (“ATDS”) or an artificial or
 9 prerecorded voice to a wireless telephone number without prior express consent. If the call
10 includes or introduces an advertisement, or constitutes telemarketing, consent must be in
11
      writing. The TCPA grants consumers a private right of action, with a provision for $500 or the
12
      actual monetary loss in damages for each violation, whichever is greater, and treble damages for
13
      each willful or knowing violation, as well as injunctive relief.
14
15            18.      In its initial implementation of the TCPA rules, the FCC included an exemption

16 to its consent requirement for prerecorded telemarketing calls. Where the caller could
17 demonstrate an “established business relationship” with a customer, the TCPA permitted the
18 caller to place pre-recorded telemarketing calls to residential lines. The new amendments to the
19
      TCPA, effective October 16, 2013, eliminate this established business relationship exemption.
20
      Therefore, all pre-recorded telemarketing calls to residential lines and wireless numbers violate
21
      the TCPA if the calling party does not first obtain express written consent from the called party.
22
23            19.      As of October 16, 2013, unless the recipient has given prior express written

24 consent,1 the TCPA and Federal Communications Commission (FCC) rules under the TCPA
25 generally:
26
1
27   Prior express written consent means “an agreement, in writing, bearing the signature of the person called
     that clearly authorizes the seller to deliver or cause to be delivered to the person called advertisements or
28   telemarketing messages using an automatic telephone dialing system or an artificial or prerecorded voice,
          PLAINTIFF’S COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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 1
 2                    Prohibits solicitors from calling residences before 8 a.m. or after 9 p.m.,
 3
               local time.
 4
                      Requires solicitors provide their name, the name of the person or entity
 5
               on whose behalf the call is being made, and a telephone number or address at
 6
 7             which that person or entity may be contacted.

 8                    Prohibits solicitations to residences that use an artificial voice or a

 9             recording.
10
                      Prohibits any call or text made using automated telephone equipment or
11
               an artificial or prerecorded voice to a wireless device or cellular telephone.
12
                      Prohibits any call made using automated telephone equipment or an
13
14             artificial or prerecorded voice to an emergency line (e.g., “911”), a hospital

15             emergency number, a physician’s office, a hospital/health care facility/elderly

16             room, a cellular telephone, or any service for which the recipient is charged for
17             the call.
18
                      Prohibits autodialed calls that engage two or more lines of a multi-line
19
               business.
20
21                    Prohibits unsolicited advertising faxes.

22                    Prohibits certain calls to members of the Do-Not-Call Registry

23           20.       Furthermore, in 2008, the FCC held that “a creditor on whose behalf an
24 autodialed or prerecorded message call is made to a wireless number bears the responsibility for
25
      any violation of the Commission’s rules.” In re Rules and Regulations Implementing the
26
27
     and the telephone number to which the signatory authorizes such advertisements or telemarketing
28   messages to be delivered. 47 C.F.R. § 64.1200(f)(8).
         PLAINTIFF’S COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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 1
 2 Telephone Consumer Protection Act, Declaratory Ruling on Motion by ACA International for
 3 Reconsideration, 23 FCC Rcd. 559, 565, ¶ 10 (Jan. 4, 2008); Birchmeier v. Caribbean Cruise
 4
     Line, Inc., 2012 WL 7062748 (Dec. 31, 2012).
 5
             21.    Accordingly, the entity can be liable under the TCPA for a call made on its
 6
 7 behalf, even if the entity did not directly place the call. Under those circumstances, the entity is
 8 deemed to have initiated the call through the person or entity.
 9           22.    There are just a handful of elements need to be proven for violations of the Do
10 Not Call provision of the TCPA.
11
         A. DO NOT CALL VIOLATIONS OF THE TCPA
12
             23.    More Than One Call within Any 12 Month Period. 47 U.S.C. § 227(c) provides
13
     that any “person who has received more than one telephone call within any 12-month period by
14
15 or on behalf of the same entity in violation of the regulations prescribed under this subsection
16 may” bring a private action based on a violation of said regulations, which were promulgated to
17 protect telephone subscribers’ privacy rights to avoid receiving telephone solicitations to which
18 they object.
19
             24.    Calls to Residential Lines on the Do Not Call List. The TCPA’s implementing
20
     regulation—47 C.F.R. § 64.1200(c)—provides that “[n]o person or entity shall initiate any
21
     telephone solicitation” to “[a] residential telephone subscriber who has registered his or her
22
23 telephone number on the national do-not-call registry of persons who do not wish to receive
24 telephone solicitations that is maintained by the federal government.” See 47 C.F.R. §
25 64.1200(c).
26           25.    Or, Wireless Lines on the Do Not Call List. Owners of wireless telephone
27
28
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 1
 2 numbers (aka mobile or cellular phones) receive the same protections from the Do Not Call
 3 provision as owners or subscribers of wireline (“landline”) phone numbers. 47 C.F.R. §
 4
     64.1200(e), provides that 47 C.F.R. §§ 64.1200(c) and (d) “are applicable to any person or entity
 5
     making telephone solicitations or telemarketing calls to wireless telephone numbers to the
 6
 7 extent described in the Commission’s Report and Order, CG Docket No. 02-278, FCC 03-153,
 8 ‘Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991,’” which
 9 the Report and Order, in turn, provides as follows:
10      The Commission’s rules provide that companies making telephone solicitations to
        residential telephone subscribers must comply with time of day restrictions and must
11
        institute procedures for maintaining do-not-call lists. For the reasons described above,
12      we conclude that these rules apply to calls made to wireless telephone numbers. We
        believe that wireless subscribers should be afforded the same protections as wireline
13      subscribers.
14            26.    The Affirmative Defense of Prior Express Invitation or Permission. Defendant

15 has the burden to prove it has obtained the subscriber’s prior express invitation or permission.
16 Such permission must be evidenced by a signed, written agreement between the consumer and
17
     seller which states that the consumer agrees to be contacted by this seller and includes the
18
     telephone number to which the calls may be placed. 47 C.F.R. § 64.1200(c)(2)(ii).
19
                                COMMON FACTUAL ALLEGATIONS
20
21            27.    Defendant is a company involved in vacation resorts and

22 debt/recovery/collection. During or fall of 2017, in an effort to solicit potential customers,
23 Defendant began making telephone calls, en masse, to consumers across the country. On
24
     information and belief Defendant and/or its agents purchase “leads” containing consumers’
25
     contact information and create an electronic database from which Defendant makes automated
26
     calls.
27
28
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 1
 2          28.     Defendant knowingly made these telemarketing calls without the prior express
 3 written consent of the call recipients, and knowingly continues to call them after requests to
 4
     stop. As such, Defendant not only invaded the personal privacy of Plaintiffs and members of the
 5
     putative Class, but also intentionally and repeatedly violated the TCPA.
 6
                                  FACTS SPECIFIC TO PLAINTIFF
 7
 8          29.     On or about August 26, 2005, Plaintiff registered her cellular phone number with

 9 the area code (303) and ending in 9345 with the National Do Not Call Registry.
10          30.     Plaintiff is the regular carrier and exclusive user of the telephone assigned the
11
     number ending in9345. The number is assigned to a cellular telephone service for which
12
     Plaintiff is charged for incoming calls pursuant to 47 U.S.C. § 227(b)(1).
13
            31.     Beginning on or about November 30, 2017 at 8:25 p.m., Plaintiff began
14
15 receiving calls on her cellular telephone from the number (407) 967-4715, claiming to be
16 Defendant”
17          32.     Plaintiff never had a business relationship with Defendant.
18          33.     Plaintiff never provided Defendant with prior consent or invitation or permission
19
     to contact her on her phone via a text message or telephone call.
20
            34.     Nonetheless, Defendant called Plaintiff at least twice on her phone during a
21
     twelve-month period t.
22
23          35.     Plaintiff specifically told Defendant to stop calling. Yet, the calls continued.

24          36.     Plaintiff was annoyed by the unsolicited calls and wanted them to stop.

25          37.     Defendant’s calls constituted calls that were not for emergency purposes as
26 defined by 47 U.S.C. § 227(b)(1(A)(i).
27
28
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 1
 2          38.     Defendant’s unsolicited telemarketing calls caused Plaintiff extreme aggravation
 3 and occupied her telephone line.
 4
            39.     Plaintiff has reason to believe Defendant called thousands of telephone
 5
     customers listed on the Do Not Call Registry to market their products and services.
 6
            40.     Plaintiff’s overriding interest is ensuring Defendant cease all illegal
 7
 8 telemarketing practices and compensates all members of the Plaintiff Class for invading their
 9 privacy in the manner the TCPA was contemplated to prevent.
10          41.     In order to redress injuries caused by Defendant’s violations of the TCPA,
11
     Plaintiff, on behalf of herself and a class of similarly situated individuals, brings suit under the
12
     TCPA, 47 U.S.C. § 227, et seq., which prohibits certain unsolicited calls voice and text to
13
     individuals whose numbers are registered on the Do Not Call Registry.
14
15          42.     On behalf of the Plaintiff Class, Plaintiff seeks an injunction requiring Defendant

16 to cease all illegal telemarketing and spam activities and an award of statutory damages to the
17 class numbers, together with costs and reasonable attorneys’ fees.
18                                               STANDING
19
            43.     Plaintiff has standing to bring this suit on behalf of herself and the members of
20
     the class under Article III of the United States Constitution because Plaintiffs’ claims state: (a) a
21
     valid injury in fact; (b) an injury which is traceable to the conduct of Defendant; and (c) is likely
22
23 to be redressed by a favorable judicial decision. See Spokeo v. Robins, 136 S. Ct. 1540, 1547
24 (2016); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).
25       A. INJURY IN FACT
26          44.     Plaintiff has standing to bring this suit on behalf of themselves and the members
27
28
        PLAINTIFF’S COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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 1
 2 of the class under Article III of the United States Constitution because Plaintiffs’ claims state:
 3 (a) a valid injury in fact; (b) an injury which is traceable to the conduct of Defendant; and (c) is
 4
     likely to be redressed by a favorable judicial decision. See Spokeo v. Robins, 136 S. Ct. 1540,
 5
     1547 (2016); Robins v. Spokeo, 867 F.3d 1108 (9th Cir. 2017) (cert denied. 2018 WL 491554,
 6
 7 U.S., Jan. 22 2018); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992); and Chen v.
 8 Allstate Inc. Co., 819 F.3d 1136 (9th Cir. 2016).
 9           45.    Plaintiffs’ injuries must be both “concrete” and “particularized” in order to
10 satisfy the requirements of Article III of the Constitution. (Id.)
11
             46.    For an injury to be concrete it must be a de facto injury, meaning it actually
12
     exists. In the present case, Plaintiffs took the affirmative step of enrolling themselves on the
13
     National Do-Not-Call Registry for the purpose of preventing marketing calls to their telephones.
14
15 Such telemarketing calls are a nuisance, an invasion of privacy, and an expense to Plaintiffs. See
16 Soppet v. enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012). All three of these
17 injuries are present in this case. (See also Chen v. Allstate Inc. Co., 819 F.3d 1136 (9th Cir.
18 2016).)
19
             47.    Furthermore, the Third Circuit recently stated, Congress found that “[u]nsolicited
20
     telemarketing phone calls or text messages, by their nature, invade the privacy and disturb the
21
     solitude of their recipients,” Van Patten, 847 F.3d at 1043, and sought to protect the same
22
23 interests implicated in the traditional common law cause of action. Put differently, Congress was
24 not inventing a new theory of injury when it enacted the TCPA. Rather, it elevated a harm that,
25 while “previously inadequate in law,” was of the same character of previously existing “legally
26 cognizable injuries.” Spokeo, 136 S.Ct. at 1549. Spokeo addressed, and approved, such a choice
27
28
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 1
 2 by Congress. Susinno v. Work Out World Inc., No. 16-3277, 2017 WL 2925432, at *4 (3d Cir.
 3 July 10, 2017).
 4
             48.     For an injury to be particularized means that the injury must affect the plaintiffs
 5
     in a personal and individual way. See Spokeo at 7. Furthermore, Plaintiff is the person who pays
 6
 7 for the phone, and/or is the regular carrier and user of the phone. All of these injuries are
 8 particular to Plaintiff.
 9                 B. TRACEABLE TO THE CONDUCT OF EACH SEPARATE DEFENDANT
10           49.     Plaintiffs must allege at the pleading stage of the case facts to show that their
11
     injury is traceable to the conduct of Defendant. In this case, Plaintiff satisfies this requirement
12
     by alleging that Defendant, and/or agents of Defendant on behalf of Defendant, placed illegal
13
     calls to Plaintiff’s phone.
14
15           50.     In the instant case, Defendant placed calls to Plaintiff’s wireless/cellular phone

16 on multiple occasions.
17           C. INJURY LIKELY TO BE REDRESSED BY A FAVORABLE JUDICIAL OPINION
18           51.     The third prong to establish standing at the pleadings phase requires Plaintiffs to
19
     allege facts to show that the injury is likely to be redressed by a favorable judicial opinion. In
20
     the present case, Plaintiff’s Prayers for Relief include a request for damages for each call made
21
     by Defendant, as authorized by statute in 47 U.S.C. § 227. The statutory damages were set by
22
23 Congress and specifically redress the financial damages suffered by Plaintiff and the members
24 of the putative classes. Furthermore, Plaintiff’s Prayers for Relief request injunctive relief to
25 restrain Defendant from the alleged abusive practices in the future. The award of monetary
26
27
28
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    1
    2 damages and the order for injunctive relief redress the injuries of the past, and prevent further
    3 injury in the future.
    4
                 52.     Because all standing requirements of Article III of the U.S. Constitution have
    5
         been met, as laid out in Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) and in the context
    6
    7 of a TCPA claim, as explained by the Ninth Circuit in Chen v. Allstate Inc. Co., 819 F.3d 1136
    8 (9th Cir. 2016), Plaintiffs have standing to sue Defendant on the stated claims.
    9                                    CLASS ACTION ALLEGATIONS
10               A.       CLASS ALLEGATIONS
11
                 53.     Plaintiff brings this action pursuant to Rule 23 of the Federal Rules of Civil
12
         Procedure and/or other applicable law, on behalf of themselves and all others similarly situated,
13
         as a member of a proposed class (hereafter “the DNC Class”, “the Cell Phone Class” and the
14
15 “Internal DNC Class”).
16
            “DNC2 Class”: All individuals in the United States who: (1) received more than
17          one telephone call made by or on behalf of Defendant within a 12-month period;
            and, (2) to a telephone number that had been registered with the National Do Not
18          Call Registry for at least 30 days.
19          “Cell Phone Class”: All individuals in the United States who: (1) received more
20          than one telephone call made by or on behalf of Defendants within a 12-month
            period; (2) to a telephone number that had been registered with the National Do
21          Not Call Registry for at least 30 days; and (3) for whom Defendants had no
            consent to place such calls within the four years prior to the filing of this
22          Complaint.
23          “Internal DNC Class”: All persons in the United States to whom: (a) received
24          more than one telephone call made by or on behalf of Defendant(s); (b) promoting
            Defendants’ goods or services; (c) more than 30 days after requesting not to
25          receive further calls; (d) in a 12-month period; (e) on their cellular telephone line
            or residential telephone line; and (f) at any time in the period that begins four years
26          before the date of filing this Complaint to trial.
27
2
        “DNC” referenced herein refers to the National Do Not Call Registry, established pursuant to 47 U.S.C.
28      227(c) and the regulations promulgated by the Federal Communications Commission (“FCC”).
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 1
 2          54.     The following individuals are excluded from the Class: (1) any Judge or
 3 Magistrate presiding over this action and members of their families; (2) Defendant, Defendant’s
 4
     subsidiaries, parents, successors, predecessors, and any entity in which Defendant or their
 5
     parents have a controlling interest, and its current or former employees, officers, and directors;
 6
 7 (3) Plaintiffs’ counsel and Defendant’s counsel; (4) persons who properly execute and file a
 8 timely request for exclusion from the Classes; (5) the legal representatives, successors or assigns
 9 of any such excluded persons; (6) persons whose claims against Defendant have been fully and
10 finally adjudicated and/or released; and (7) individuals for whom Defendant has record of
11
     consent to place telemarketing calls.
12
            55.     This suit seeks only damages, statutory penalties, and injunctive relief for
13
     recovery of economic injury on behalf of the Classes, and it expressly is not intended to request
14
15 any recovery for personal injury and claims related thereto.
16          56.     Plaintiff reserves the right to expand the Class definitions to seek recovery on

17 behalf of additional persons as warranted as facts are learned in further investigation and
18 discovery.
19
            57.     Plaintiff and members of the Class were harmed by Defendant’s acts in at least
20
     the following ways: Defendant, either directly or through agents, illegally contacted Plaintiff
21
     and the Class members via their telephones, after Plaintiff and the Class members took the
22
23 affirmative step of registering their numbers on the DNC, and/or contacted Plaintiffs and
24 members of the Class on their cell phones without prior express consent, and/or contacted
25 Plaintiff and the Class members more than 30 days after they revoked consent.
26
27
28
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 1
 2           B.      NUMEROSITY
 3           58.     The exact size of the Classes is unknown and not available to Plaintiff at this
 4
     time, but it is clear individual joinder is impracticable.
 5
             59.     On information and belief, Defendant made telephone calls to thousands of
 6
 7 consumers who fall into the definition of the Classes. Members of the Classes can be easily
 8 identified through Defendant’s records.
 9           C.      COMMONALITY AND PREDOMINANCE
10           60.     There are many questions of law and fact common to the claims of Plaintiff and
11
     the Classes, and those questions predominate over any questions that may affect individual
12
     members of the Class.
13
             61.     Common questions for the Class include, but are not necessarily limited to the
14
15 following:
16                   a.       Whether Defendant’s conduct violated the TCPA;

17                   b.       Whether Defendant systematically made telephone calls to consumers
18                 who did not previously provide Defendant and/or their agents with prior express
19
                   written consent to receive such phone calls after January 31, 2015;
20
                     c.       Whether Defendant systematically made telephone calls to consumers
21
                   whose telephone numbers were registered with the National Do Not Call Registry;
22
23                   d.       Whether Defendant contacted Plaintiff and the Cell Phone Class members

24                 using an automatic telephone dialing system, without prior express written

25                 consent;
26                   e.       Whether Defendant complied with 47 CFR § 1200(d) requirement to
27
28
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 1
 2                maintain an internal DNC list and whether Defendant continued to contact
 3                members on that internal DNC list;
 4
                    f.     Whether members of the Class are entitled to up to three times actual
 5
                  monetary loss based on the willfulness of Defendant’s conduct;
 6
                    g.     Whether Defendant and its agents should be enjoined from engaging in
 7
 8                such conduct in the future.

 9          D.      TYPICALITY
10          62.     Plaintiff’s claims are typical of the claims of the other members of the Classes.
11
            63.     Plaintiff and the Classes sustained damages as a result of Defendant’s uniform
12
     wrongful conduct during transactions with Plaintiff and the Classes.
13
            E.      ADEQUATE REPRESENTATION
14
15          64.     Plaintiff will fairly and adequately represent and protect the interests of the

16 Classes, and have retained counsel competent and experienced in complex class actions.
17          65.     Plaintiff has no interest antagonistic to those of the Classes, and Defendant have
18 no defenses unique to Plaintiff.
19
            F.      POLICIES GENERALLY APPLICABLE TO THE CLASS
20
            66.     This class action is appropriate for certification because the Defendant has acted
21
     or refused to act on grounds generally applicable to the Classes as a whole, thereby requiring the
22
23 Court’s imposition of uniform relief to ensure compatible standards of conduct toward the Class
24 members, and making final injunctive relief appropriate with respect to the Class as a whole.
25          67.     Defendant’s practices challenged herein apply to and affect the Class’ members
26 uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with
27
28
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 1
 2 respect to the Class as a whole, not on facts or law applicable only to Plaintiff.
 3           G.     SUPERIORITY
 4
             68.    This case is also appropriate for class certification because class proceedings are
 5
     superior to all other available methods for the fair and efficient adjudication of this controversy
 6
 7 given that joinder of all parties is impracticable.
 8           69.    The damages suffered by the individual members of the Class will likely be

 9 relatively small, especially given the burden and expense of individual prosecution of the
10 complex litigation necessitated by Defendant’s actions.
11
             70.    Thus, it would be virtually impossible for the individual members of the Class to
12
     obtain effective relief from Defendant’s misconduct.
13
             71.    Even if members of the Class could sustain such individual litigation, it would
14
15 still not be preferable to a class action, because individual litigation would increase the delay
16 and expense to all parties due to the complex legal and factual controversies presented in this
17 Complaint.
18           72.    By contrast, a class action presents far fewer management difficulties and
19
     provides the benefits of single adjudication, economy of scale, and comprehensive supervision
20
     by a single court. Economies of time, effort and expense will be fostered, and uniformity of
21
     decisions ensured.
22
23                                     FIRST CAUSE OF ACTION

24                                VIOLATION OF TCPA, 47 U.S.C. § 227

25                     (“DNC Claim” On behalf of Plaintiffs and the DNC Class)
26           73.    Plaintiff re-alleges and incorporates by reference each preceding paragraph as
27
28
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 1
 2 though set forth at length herein.
 3           74.     47 U.S.C. § 227(c) provides that any “person who has received more than one
 4
     telephone call within any 12-month period by or on behalf of the same entity in violation of the
 5
     regulations prescribed under this subsection may” bring a private action based on a violation of
 6
 7 said regulations, which were promulgated to protect telephone subscribers’ privacy rights to
 8 avoid receiving telephone solicitations to which they object.
 9           75.     The TCPA’s implementing regulation—47 C.F.R. § 64.1200(c)—provides that
10 “[n]o person or entity shall initiate any telephone solicitation” to “[a] residential telephone
11
     subscriber who has registered his or her telephone number on the national do-not-call registry of
12
     persons who do not wish to receive telephone solicitations that is maintained by the federal
13
     government.” See 47 C.F.R. § 64.1200(c).
14
15           76.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be

16 initiated, telephone solicitations to wireless and residential telephone subscribers such as
17 Plaintiffs and the DNC Class members who registered their respective telephone numbers on the
18 National Do Not Call Registry, a listing of persons who do not wish to receive telephone
19
     solicitations that is maintained by the federal government.
20
             77.     Defendant made more than one unsolicited telephone call to Plaintiffs and
21
     members of the Class within a 12-month period without their prior express consent to place such
22
23 calls. Plaintiffs and members of the DNC Class never provided any form of consent to receive
24 telephone calls from Defendant do not have a record of consent to place telemarketing calls to
25 them.
26           78.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiffs and the DNC Class
27
28
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 1
 2 members received more than one telephone call in a 12-month period made by or on behalf of
 3 Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s
 4
     conduct as alleged herein, Plaintiffs and the DNC Class suffered actual damages and, under
 5
     section 47 U.S.C. § 227(c), are each entitled, inter alia, to receive up to $500 in damages for
 6
 7 such violations of 47 C.F.R. § 64.1200.
 8           79.      To the extent Defendant’s misconduct is determined to be willful and knowing,

 9 the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages
10 recoverable by the members of the Class.
11
                                      SECOND CAUSE OF ACTION
12
                                   VIOLATION OF TCPA, 47 U.S.C. § 227
13
                   (“Cell Phone Claim” On behalf of Plaintiffs and the Cell Phone Class)
14
15           80.      Plaintiff re-alleges and incorporates by reference each preceding paragraph as

16 though set forth at length herein.
17           81.      The foregoing acts and omissions of Defendants constitute numerous and
18 multiple violations of the TCPA, including but not limited to each and every one of the above
19
     cited provisions of 47 U.S.C. § 227, et seq. and 47 C.F.R. §64.1200, et seq.
20
             82.      Defendants contacted Plaintiff and members of the Cell Phone Class, on their
21
     cellular phones using an ATDS.
22
23           83.      As a result of Defendants’ violations of 47 U.S.C. § 227, et seq., and 47 C.F.R.

24 §64.1200, et seq., Plaintiff is entitled to an award of $500.00 in statutory damages, for each and
25 every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
26           84.      To the extent Defendants’ misconduct is determined to be willful and knowing,
27
28
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 1
 2 the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages
 3 recoverable by the members of the Class.
 4
             85.    Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in
 5
     the future.
 6
                                      THIRD CAUSE OF ACTION
 7
 8                              INTERNAL DNC CLAIM IN VIOLATION OF

 9                           THE TELEPHONE CONSUMER PROTECTION ACT,

10                          47 U.S.C. § 227, ET SEQ. (64 C.F.R. § 64.1200(D))
11
             (“Internal DNC Claim” On behalf of Plaintiffs and the Internal DNC Class)
12
             86.    Plaintiff hereby incorporates by reference and re-alleges each and every
13
     allegation set forth in each and every preceding paragraph of this Complaint, as though fully set
14
15 forth herein.
16           87.    47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate

17 any call for telemarketing purposes to a residential telephone subscriber unless such person or
18 entity has instituted procedures for maintaining a list of persons who request not to receive
19
     telemarketing calls made by or on behalf of that person or entity. The procedures instituted must
20
     meet the following minimum standards:
21
       (1) Written policy. Persons or entitles making calls for telemarketing purposes must
22     have a written policy, available upon demand, for maintaining a do-not-call list.
23
       (2) Training of personnel engaged in telemarketing. Personnel engaged in any aspect
24     of telemarketing must be informed and trained in the existence and use of the do-not-
       call list.
25
       (3) Recording, disclosure of do-not-call requests. If a person or entity making a call
26     for telemarketing purposes (or on whose behalf such a call is made) receives a request
27     from a residential telephone subscriber not to receive calls from that person or entity,
       the person or entity must record the request and place the subscriber’s name, if
28
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 1
 2     provided, and telephone number on the do-not-call list at the time the request is made.
       Persons or entities making calls for telemarketing purposes (or on whose behalf such
 3     calls are made) must honor a residential subscriber’s do-not-call request within a
 4     reasonable time from the date such request is made. This period may not exceed thirty
       days from the date of such request…
 5
       (4) Identification of sellers and telemarketers. A person or entity making a call for
 6     telemarketing purposes must provide the called party with the name of the individual
       caller, the name of the person or entity on whose behalf the call is being made, and a
 7
       telephone number or address at which the person or entity may be contacted. The
 8     telephone number provided may not be a 900 number or any other number for which
       charges exceed local or long distance transmission charges.
 9
       (5) Affiliated persons or entities. In the absence of a specific request by the subscriber
10     to the contrary, a residential subscriber’s do-not-call request shall apply to the
       particular business entity making the call (or on whose behalf a call is made), and will
11
       not apply to affiliated entities unless the consumer reasonably would expect them to be
12     included given the identification of the caller and the product being advertised.

13     (6) Maintenance of do-not-call lists. A person or entity making calls for telemarketing
       purposes must maintain a record of a consumer’s request not to receive further
14     telemarketing calls. A do-not-call request must be honored for 5 years from the time
15     the request is made.

16
             88.    Defendants made more than one unsolicited telephone call to Plaintiff and
17
     members of the Internal DNC Class within a 12-month period. Plaintiff and members of the
18
     Internal DNC Class never provided any form of consent to receive telephone calls from
19
20 Defendants do not have a record of consent to place telemarketing calls to them and/or Plaintiffs
21 and members of the Internal DNC Class revoked consent.
22           89.    Defendants violated 47 C.F.R. § 64.1200(d) by initiating calls for telemarketing
23 purposes to residential and wireless telephone subscribers, such as Plaintiff and the Class,
24
     without instituting procedures that comply with the regulatory minimum standards for
25
     maintaining a list of persons who request not to receive telemarketing calls from them.
26
27
28
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 1
 2           90.    Defendants violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Internal
 3 DNC Class received more than one telephone call more than 30 days after revoking any
 4
     purported consent in violation of 47 C.F.R. § 64.1200, as described above. As a result of
 5
     Defendants’ conduct as alleged herein, Plaintiff and the Internal DNC Class and the Class
 6
 7 suffered actual damages and, under section 47 U.S.C. § 227(c), are each entitled, inter alia, to
 8 receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.
 9           91.    To the extent Defendants’ misconduct is determined to be willful and knowing,
10 the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages
11
     recoverable by the members of the Class.
12
             92.    Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in
13
     the future.
14
15                                        ATTORNEYS’ FEES

16           93.    Each and every allegation contained in the foregoing paragraphs is re-alleged as

17 if fully rewritten herein.
18           94.    Plaintiff is entitled to recover reasonable attorney fees under Rule 23 of the
19
     Federal Rules of Civil Procedure, and requests the attorneys’ fees be awarded.
20
                                             JURY DEMAND
21
             95.    Plaintiff, individually and on behalf of the Classes, demand a jury trial on all
22
23 issues triable to a jury.
24                                       PRAYER FOR RELIEF

25           WHEREFORE, Plaintiff, individually and on behalf of the Classes, pray for the
26 following relief:
27
28
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 1
 2           (a) An order certifying the Classes as defined above, appointing Plaintiffs as the
 3    representative of the Class, and appointing his counsel, Law Offices of Todd M. Friedman,
 4
      Hughes Ellzey, LLP and Kristensen Weisberg, LLP as lead Class Counsel;
 5
             (b) An award of actual and statutory damages for each and every negligent violation
 6
      to each member of the Class pursuant to 47 U.S.C. § 227(b)(3)(B);
 7
 8           (c) An award of actual and statutory damages for each and every knowing and/or

 9    willful violation to each member of the Class pursuant to 47 U.S.C § 227(b)(3)(B);
10           (d) An injunction requiring Defendant and Defendant’s agents to cease all
11
      unsolicited telephone calling activities, and otherwise protecting the interests of the Class,
12
      pursuant to 47 U.S.C. § 227(b)(3)(A);
13
             (e) An award for the class representative;
14
15           (f)   Pre-judgment and post-judgment interest on monetary relief;

16           (g) An award of reasonable attorneys’ fees and court costs; and

17           (h) All other and further relief as the Court deems necessary, just, and proper.
18   Dated: February 12, 2019                   Respectfully submitted,
19
                                          By: /s/ Todd M. Friedman
20
                                                Todd M. Friedman (CA SBN 216752)
21                                              LAW OFFICES OF TODD M. FRIEDMAN, P.C
22                                              John P. Kristensen (Pro Hac Vice Pending)
23                                              KRISTENSEN WEISBERG, LLP

24                                              Jarrett L. Ellzey (Pro Hac Vice Pending)
                                                HUGHES ELLZEY, LLP
25
                                                Attorneys for Plaintiff and all other similarly
26
                                                situated.
27
28
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